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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NO.: 21CR3352

Plaintiff, Hon. JANIS L. SAMMARTINO
Vv. JOINT MOTION TO CONTINUE
MOTION HEARING
DENNY BHAKTA,
Defendant.

 

 

 

 

IT IS HEREBY JOINTLY MOVED by the parties that the Motion
Hearing and Trial Setting currently scheduled for March 18, 2022, be continued to
May 13, 2022, at 1:30 p.m. before the Honorable Janis L. Sammartino. The parties
also jointly move to exclude time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7).

Section 3161(h) excludes certain periods of time in calculating the 70 days. That
includes delay resulting from a continuance if the court finds “the ends of justice served by
taking such action outweigh the best interest of the public and the defendant in a speedy trial.”
18 U.S.C. § 3161(h)(7)(A). The court must “set[] forth ... either orally or in writing, its

reasons” for the finding. Id. The court “shall consider” the following factors, “among others”:

(i) Whether the failure to grant such a continuance in the proceeding would
be likely to make a continuation of such proceeding impossible or result in a

 
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miscarriage of justice.

(ii) Whether the case is so unusual or so complex, due to the number of
defendants, the nature of the prosecution, or the existence of novel questions
of fact or law, that it is unreasonable to expect adequate preparation for
pretrial proceedings or for the trial itself within the time limits established by
this section.

(iv) Whether the failure to grant such a continuance in a case which, taken
as a whole, is not so unusual or so complex as to fall within clause (ii), would
deny the defendant reasonable time to obtain counsel, would unreasonably
deny the defendant or the Government continuity of counsel, or would deny
counsel for the defendant or the attorney for the Government the reasonable
time necessary for effective preparation, taking into account the existence of
due diligence.

U.S.C. § 3161(h)(7)(B). “No continuance under [this provision] shall be granted because of
general congestion of the court’s calendar, or lack of diligent preparation or failure to obtain
available witnesses on the part of the attorney for the Government.” U.S.C. § 3161(h)(7)(C).

The legislation enacted to address the COVID-19 pandemic, further enables the
exclusion of time. The ends of justice served by granting the requested continuance outweigh
the best interest of the public and the defendant in a speedy trial, for the following reasons:

a. Discovery in this matter is ongoing.

b. Mr. Bhakta has filed discovery motions.

Cc. Additional time is needed in order to resolve the case. It is expected that
additional charges will be filed, resulting in many additional pages of discovery. Until
the new discovery is reviewed, there can be no resolution of this matter.

d. ‘The parties are exercising due diligence. For the reasons above, failure to
grant the requested continuance would deny counsel the reasonable time necessary for
effective preparation and result in a miscarriage of justice.

e. This is the second request for a continuance of the Motion Hearing/Trial
Setting in this case.

Counsel for defendant represents that she has discussed the need for this continuance
with Mr. Bhakta. He agrees to and joins in the request for this continuance.

The parties therefore jointly move for a continuance and to exclude time under the Speedy Trial

JOINT MOTION TO CONTINUE MOTION HEARING

 

 
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Act. The parties agree the period of delay excluded spans from the filing of this joint motion,
U.S.C. § 3161(h)(1)(D), until the new date for the hearing.

DATED: March 9, 2022 /s/ Sandra Resnick

March 9, 2022 /s/ Andrew Galvin

JOINT MOTION TO CONTINUE MOTION HEARING

 

 
